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EXHIBIT “3”
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                        HOLLEY•DRIGGS•WALCH
                     FINE•WRAY•PUZEY•THOMPSON                                 PLEASE REPLY TO LAS VEGAS OFFICE
                                                                        WRITERS EMAIL: OBROWN@NEVADAFIRM.COM




                                               November 13, 2017




 Via U.S. Mail, Certified Mail and E-Mail(Robin1031@aol.com)
  The Springs Building, LLC                                 Park Place Properties, LLC
  375 Warm Springs Road, Suite 100                          375 Warm Springs Road, Suite 100
  Las Vegas, Nevada 89119                                   Las Vegas, Nevada 89119

  The Springs Building, LLC                                 Park Place Properties, LLC
  c/o Ronald J. Robinson, Registered Agent                  c/o Ronald J. Robinson, Registered Agent
  375 East Warm Springs Road Suite 100                      375 East Warm Springs Road Suite 100
  Las Vegas, Nevada 89119                                   Las Vegas, Nevada 89119

  Ronald J. Robinson                                        Ronald J. Robinson
  3785 Mesa Linda Drive                                     Trustee ofthe Scotsman Trust
  Las Vegas, Nevada 89120                                   Dated June 1, 1996
                                                            319 E. Warm Springs Road #100
                                                            Las Vegas, Nevada 89119

            RE: Loan from Western Alliance Bank, as successor in interest to Centennial Bank
                ("Lender"), in favor of The Springs Building, LLC, a Nevada limited liability
                 company ("Borrower"), guaranteed by Ronald J. Robinson and Park Place
                 Properties, LLC("Guarantors")

                  NOTICE OF DEFAULT:Amended and Restated Promissory Note(Note A),dated
                  September 30, 2014, in the original principal amount of $4,000,000, executed by
                  Borrower in favor of Lender; Amended and Restated Promissory Note (Note B),
                  dated September 30, 2014, in the original principal amount of $1,743,655.65,
                  executed by Borrower in favor of Lender (collectively, the "Notes"); outstanding
                  principal balance ofNote A is $3,780,571.57; outstanding principal balance ofNote
                  B is $1,743,655.65("Loan").1




'The Loan Agreement, the Note, the Guaranty, and all other agreements, documents, and instruments evidencing or
securing the Loan and the Note, as modified herein, are referred to individually and collectively as the "Loan
Documents". All capitalized terms used in this letter but not otherwise defined herein have the meanings given in the
Loan Documents.
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       400 SOUTH FOURTH STREET •SUITE 300• I.AS VEGAS•NEVADA 89101 •(702) 791-0308•FAX(702)791-1912
        800 SOUTH MEADOWS PARKWAY• SUITE S00•RENO •NEVADA 89521 •(775)851-8700•FAX(775)851-7681
                                             WWW.NEVADAFIRM.COM
        Case 18-12320-leb        Doc 37-1      Entered 07/18/18 17:33:18        Page 52 of 83

The Springs Building, LLC
Ronald J. Robinson, Individually and as Trustee ofthe Scotsman Trust dated June 1, 1996
Park Place Properties, LLC
November 13, 2017
Page 2


                 Deed of Trust dated December 14, 2007, recorded in the Official Records of Clark
                 County, Nevada, on December 20, 2007, as Doc. No. 20071220-0005531, granting
                 Lender a security interest in real property located at Bermuda and Warm Springs
                 Coml Ctr, Plat Book 79 Page 65,PT Lot 1, at 375 Warm Springs Road, Las Vegas,
                 Nevada, identified as A.P.N. 177-09-514-009 ("PropertX"); amended by
                 Modification of Deed of Trust and Assignment of Rents and Leases, dated
                 September 30, 2014,recorded on October 16, 2014 as Inst. No.20141016-0002192.
                 Scotsman Trust dated June 1, 1996 granted Lender a security interest in real property
                 located at 40588 Ironwood Drive, Big Bear Lake, California 92315 (the "California
                 PropertX") and a Deed of Trust, Security Agreement, Assignment of Rents, and
                 Fixture Filing dated September 30, 2014, recorded in the Clark Official Records on
                 October 16, 2014, as Document No. 20141016-0002214, granting Lender a security
                 interest in real property located at 808 5th Street, Boulder City, Nevada 89005, and
                 identified as A.P.N. 186-09-610-034 (the `Boulder PropertX") pursuant to the
                 Amendment to Loan Documents dated September 30, 2014.

Dear Mr. Robinson:

        As you are aware,this law firm represents Lender in connection with the above-referenced
default. The Loan matured by its own terms on August 31, 2017(       "Maturity"). As of the
Maturity Date,the outstanding principal balance due and owing from the Borrower under the Loan
was $5,531,439.84, excluding any fees, interest, penalties or any other charges under the Loan
documents. Notwithstanding the expiration of the Maturity Date, the Borrower previously
requested asixty-day extension (the "Extension")of the Maturity Date from August 31, 2017, to
October 31,2017(the "Extended Maturit.~"), which the Lender granted, in order to allow the
sale of the Property to close pursuant to the existing Sale and Purchase Agreement dated August
25,2017(the "Purchase Agreement"), between Borrower, as Seller, and Cohen-Johnson,LLC(the
`B~"). In conjunction with the Extension, the Borrower likewise requested a Discounted
Payoff (the "DPO") of the loan in the amount of $4,000,000.00, which Lender approved. The
Lender granted both the Extension and the DPO on the condition that the Loan would be paid off
by the Extended Maturity Date.

        In connection with the Extension, Borrower agreed to grant the Lender a collateral
assignment ofthe $100,000 good faith deposit related to the Purchase Agreement(the "Deposit"),
and in the event the purchase ofthe Property failed to timely close,the Buyer would not be entitled
to the refund ofthe good faith deposit; such deposit was supposed to be forwarded to Lender to be
applied to all amounts owing under the Loan pursuant to Joint Escrow Instructions submitted to




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The Springs Building, LLC
Ronald J. Robinson, Individually and as Trustee of the Scotsman Trust dated June 1, 1996
Park Place Properties, LLC
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         First American Title Company for Escrow No. NCS-866499-HHLV.

        Among the conditions set forth in the Extension Documents that had to be met to ensure
that the DPO of $4,000,000 would not expire by the Extended Maturity Date were the (i) timely
closing of the sale of the Property, or (ii) cancellation by Buyer or Seller (Borrower) of the
Purchase Agreement. At this time, Borrower is in default of the Extension because the sale of the
Property under the Purchase Agreement failed to timely close,2 and the Deposit has not been
remitted to the Lender.

        As a result of the occurrence ofthe defaults referenced above, Lender hereby:(a) declares
the Loan in default; and (b) demands that Borrower and/or Guarantors cure the defaults of the as
required by the Loan Documents, all within fifteen (15) days from the date of this letter. As a
further result ofthe defaults referenced above, Lender has incurred expenses and costs, including
legal fees, all of which are due and payable by Borrower and Guarantor.

         The current amount due under the Note may be obtained by contacting:

         Janice Maxwell
         Vice President, Special Assets Officer
         Western Alliance Bank
         2701 E. Cambelback Road, Suite 110
         Phoenix, Arizona 85016
         Telephone:(602)346-7301
         JM~well@westernalliancebank.com

        If the defaults are not timely cured as set forth above, at the option of the Lender, Lender
may pursue any and all of the rights and remedies available to Lender at law or in equity or
delineated in the Loan Documents, including, without limitation: foreclosure of the collateral
under the Loan Documents, increasing the interest rate on the Note to the 10% Default Rate;
accelerating the Loan and declaring all amounts owed by the Borrower and Guarantors under the
Loan Documents immediately due and payable; commencing action to foreclose upon the
Properties encumbered by the respective Deeds of Trust; and commencing action against the
Guarantors for payment. As there may be existing or potential events of default other than the
defaults described in this Notice, Lender hereby reserves and preserves any and all ofits rights and
remedies under the Loan Documents and applicable law with regard to the defaults described in
this Notice and any other existing or potential default under the Loan Documents.




2 Notwithstanding requests from Lender's counsel, as of the date of this Letter, neither the escrow agent nor the
Borrower have been forthcoming with any amended Purchase Agreement or amended escrow instructions, to the
extent such have been executed between the Buyer and Borrower.

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The Springs Building, LLC
Ronald J. Robinson, Individually and as Trustee ofthe Scotsman Trust dated June 1, 1996
Park Place Properties, LLC
November 13, 2017
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        This Notice, any discussions by Lender and Borrower or its representatives, any
discussions by Lender with Guarantors or their representatives, or Lender's acceptance ofpayment
of less than the full amount due and payable under the Loan Documents do not constitute: (a) a
waiver by Lender of the defaults in this Notice;(b) a waiver by Lender of any other breach or
default by Borrower under the Loan Documents, whether or not referred to in this Notice or any
prior notice;(c)an election ofremedies by Lender with respect to any such breach or default, each
of which reserves all rights and remedies available at law,inequity or under the Loan Documents;
(d) a waiver, modification relinquishment or forbearance by Lender of any rights or remedies
available, in equity or under the Loan Documents; or (e) modification of any of the Loan
Documents.

        No modification of the Loan Documents and no other agreement or understanding of any
nature shall be deemed to have been entered into by or be binding on Lender unless and until
Lender, Borrower, Guarantors, and every other entity deemed necessary and desirable by Lender
have reached agreement on all issues, and such entire agreement has been reduced to a written
document that expressly modifies the Loan Documents and is duly executed by parties. Oral
agreements, emails, memoranda of meetings, summaries of proposed terms or other similar items
shall have no effect and shall not bind Lender.

         If you have any questions regarding this matter, please contact the undersigned.

                                                  Very truly yours,

                                                  HOLLEY DRIGGS WALCH
                                                  FINE,W Y PUZEY & THOMPSON


                                                          C~

cc: Client
    Richard F. Holley, Esq.

ATTENTION TO ANY DEBTOR 1N BANKRUPTCY OR ANY DEBTOR WHO HAS
RECEIVED A DISCHARGE 1N BANKRUPTCY OR WHO MAY HAVE PAID OR SETTLED,
OR IS OTHERWISE NOT OBLIGATED UNDER,THE LOAN:Please be advised that this letter
constitutes neither a demand for payment ofthe loan nor a notice of personal liability to nor action
against any recipient hereof who might have received a discharge of the loan in accordance with
applicable bankruptcy laws or who might be subject to the automatic stay of Section 362 of the
United States Bankruptcy Code, or who has paid or settled or is otherwise not obligated bylaw for
the loan.




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EXHIBIT “10”
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Scotsman Trust                                                                                                 APN: 0308-121-39
40588 Ironwood Dr, Big Bear Lake, CA 92315                                                                     San Bernardino County


 Owner Information


                  Primary Owner: SCOTSMAN TRUST                                  Secondary Owner:

                    Mail Address: 375 E WARM SPRINGS RD                               Site Address: 40588 IRONWOOD DR
                                  LAS VEGAS NV 89119                                                BIG BEAR LAKE CA 92315

         Assessor Parcel Number: 0308-121-39                                                    Phone:

                    Census Tract: 0112.05                                            Tract Number: 12166

                     Lot Number: 62                                                      Page Grid: 4811-E2

                Legal description: Lot: 62 District: 15 Tract No: 12166 Abbreviated Description: LOT:62 DIST:15 CITY:BIG BEAR LAKE
                                   TR#:12166 TRACT 12166 LOT 62 City/Muni/Twp: BIG BEAR LAKE



 Sale & Loan Information


                   Transfer Date: 02/08/2008                                                    Seller: ROUNDS, MARILYN L; MARILYN
                                                                                                        L ROUNDS REVOCABLE TRUST

                   Transfer Value: $785,000                                            Document #: 2008-0059792

                         Cost/SF: $223                                          First Loan Amount: N/A

                       Sale Type:                                                    Title Company: FIRST AMERICAN TITLE INS CO

                          Lender:



 Assessment & Tax Information


                 Assessed Value: $834,100                                     Percent Improvement: 81.93%

                      Land Value: $150,700                                             Tax Amount: $9,123.36

              Improvement Value: $683,400                                           Tax Account ID:

           Homeowner Exemption:                                                      Tax Rate Area: 17-001

                      Tax Status: Delinquent: 2017                                         Tax Year: 2017

       Market Improvement Value:                                                Market Land Value:

                    Market Value:



 Property Characteristics


                    Use Code: Single Family Residential                         Year Built: 1992

                 Square Feet: 3,517 SF                                            Lot Size: 9,438 SF

              Number of Units: 0                                             No of Stories: 2
             Case 18-12320-leb   Doc 37-1   Entered 07/18/18 17:33:18        Page 75 of 83
                   Zoning:                               Property Type: Single Family Residential       Owner
                                                                        Properties                  Exclusions:

              Total Rooms: 8                                Bedrooms: 4

                     Pool:                                  Bathrooms: 4



Aerial Map
               Case 18-12320-leb                Doc 37-1    Entered 07/18/18 17:33:18        Page 76 of 83




Scotsman Trust                                                                                             APN: 0308-121-39
40588 Ironwood Dr, Big Bear Lake, CA 92315                                                                 San Bernardino County


 Foreclosure Record

                  Recording Date: 03/28/2018                                      Document #: 2018-0108368 BK-PG -
                  Document Type: Notice Of Trustee's Sale

                  Auction Location: 351 NORTH ARROWHEAD, SAN BERNARDINO
               Auction Date/Time: 04/26/2018 12:00 P.M.
                  Min. Bid Amount
                Legal description: Lot: 62
          Abbreviated Description: TRACT: 12166; MB 168 PG 88-90


 Foreclosure Record

                  Recording Date: 12/22/2017                                      Document #: 2017-0544801 BK-PG -
                  Document Type: Notice Of Default                               Case Number: 17-00288-2
               Beneficiary Name:
                   Trustor Names: ROBINSON, RONALD J; THE SCOTSMAN TRUST
                    Trustee Name: FIDELITY NATIONAL TITLE COMPANY
                  Mailing Address: 1101 INVESTMENT BLVD# 170, EL DORADO HILLS, CA 95762-
                  Trustee Phone #:
                              TS#: 17-00288-2                                     Loan Doc #: 2014-0392826
                       Loan Date: 10/21/2014                                     Loan Amount: N/A
                    Contact Name: WESTERN ALLIANCE BANK
                         Attention:
                  Mailing Address: 1101 INVESTMENT BLVD# 170, EL DORADO HILLS, CA 95762-
                Legal description:


 Mortgage Record

                  Recording Date: 10/21/2014                                      Document #: 2014-0392826 BK-PG -
                     Loan Amount: N/A                                              Loan Type: Multiple Loan Amounts
                     TD Due Date:                                            Type of Financing: Multiple Loan Amounts
                     Interest Rate:
                    Lender Name: WESTERN ALLIANCE BANK
                     Lender Type: Bank
                Borrowers Name: ROBINSON, RONALD J; SCOTSMAN TRUST
                          Vesting: Trust



 Prior Transfer

                  Recording Date: 02/08/2008                                      Document #: 2008-0059792 BK-PG -
                             Price: $785,000                                   Document Type: Grant Deed
                          First TD: N/A                                           Type of Sale: Full-Computed From Transfer Tax
                  Mortgage Doc #:                                                Interest Rate:
             Case 18-12320-leb
               Lender Name:
                                              Doc 37-1   Entered 07/18/18 17:33:18                Page 77 of 83
                    Buyer Name: THE SCOTSMAN TRUST; ROBINSON, RONALD J
                  Buyer Vesting: Trust
                    Seller Name: ROUNDS, MARILYN L; MARILYN L ROUNDS REVOCABLE TRUST
             Legal description: Lot: 62 Tract No: 12166 Map Ref: MB168 PG88-90
                  City/Muni/Twp: BIG BEAR LAKE


Mortgage Record

                 Recording Date: 08/31/2007                                            Document #: 2007-0505596 BK-PG -
                   Loan Amount: $500,000                                                 Loan Type: Credit Line
                   TD Due Date:                                                   Type of Financing: Variable
                   Interest Rate:
                   Lender Name: UNION BANK OF CALIFORNIA NA
                    Lender Type: Bank
             Borrowers Name: ROUNDS, MARILYN L; THE MARILYN L ROUNDS REVOCABLE TRUST
                        Vesting: Revocable Trust



Prior Transfer

                 Recording Date: 06/12/2001                                            Document #: 20010226873 BK-PG -
                           Price: $550,000                                          Document Type: Grant Deed
                        First TD: N/A                                                  Type of Sale: Full-Computed From Transfer Tax
                 Mortgage Doc #:                                                      Interest Rate:
                   Lender Name:
                    Buyer Name: ROUNDS, MARILYN L; MARILYN L ROUNDS REVOCABLE TRUST
                  Buyer Vesting: Revocable Trust
                    Seller Name: SMITH, AMY R
             Legal description: Lot: 62 Tract No: 12166 Map Ref: MAP168 PG88-90
                  City/Muni/Twp: BIG BEAR LAKE


Prior Transfer

                 Recording Date: 05/10/2001                                            Document #: 20010179155 BK-PG -
                           Price: N/A                                               Document Type: Intra-family Transfer Or
                                                                                                   Dissolution
                        First TD: N/A                                                  Type of Sale: Non-Arms Length Transfer
                 Mortgage Doc #:                                                      Interest Rate:
                   Lender Name:
                    Buyer Name: SMITH, AMY
                  Buyer Vesting: Married Woman As Her Sole And Separate Property
                    Seller Name: SMITH, PHILIP
             Legal description: Lot: 62 Tract No: 12166 Map Ref: MB168 PG88-90
                  City/Muni/Twp: BIG BEAR LAKE


Prior Transfer

                 Recording Date: 05/10/2001                                            Document #: 20010179154 BK-PG -
                           Price: N/A                                               Document Type: Grant Deed
                        First TD: N/A                                                  Type of Sale: Price As "0", "None", "No
                                                                                                     Consideration"
                 Mortgage Doc #:                                                      Interest Rate:
             Case 18-12320-leb
               Lender Name:
                                              Doc 37-1   Entered 07/18/18 17:33:18                Page 78 of 83
                    Buyer Name: SMITH, AMY
                  Buyer Vesting: Married Woman As Her Sole And Separate Property
                    Seller Name: ATA PARTNERS LTD
             Legal description: Lot: 62 Tract No: 12166 Map Ref: MB168 PG88-90
                  City/Muni/Twp: BIG BEAR LAKE


Mortgage Record

                 Recording Date: 09/16/1994                                            Document #:
                   Loan Amount: $314,000                                                 Loan Type: Seller Take-back
                   TD Due Date:                                                   Type of Financing:
                   Interest Rate:
                   Lender Name: DIP BRAZE INC
                    Lender Type: Seller
             Borrowers Name: ATA PARTNERS LTD
                         Vesting:



Prior Transfer

                 Recording Date: 09/16/1994                                            Document #: 94-386577 BK-PG -
                           Price: $439,000                                          Document Type: Grant Deed
                        First TD: $314,000                                             Type of Sale: Full-Computed From Transfer Tax
                 Mortgage Doc #:                                                      Interest Rate:
                   Lender Name: DIP BRAZE INC
                    Buyer Name: ATA PARTNERS LTD
                  Buyer Vesting:
                    Seller Name: DIP BRAZE INC
             Legal description: Lot: 62 Tract No: 12166 Map Ref: MAP168 PG88-90
                  City/Muni/Twp: BIG BEAR LAKE
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EXHIBIT “11”
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